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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF MINNESOTA
                    Criminal No. 22-40 (JRT/LIB)

UNITED STATES OF AMERICA,

                   Plaintiff,

      v.

(1) HARSHKUMAR RAMANLAL PATEL,                    GOVERNMENT’S MOTION
    a/k/a “Dirty Harry,”                          IN LIMINE UNDER FED. R.
    a/k/a Harry Patel,                            EVID. 404(b) TO ADMIT
    a/k/a Param Singh,                            RES GESTAE
    a/k/a Haresh Rameshlal Patel,                 CONSPIRACY EVIDENCE
    a/k/a Harshkumar Singh Patel, and

(2) STEVE ANTHONY SHAND,

                   Defendants.

      The United States of America, by and through its undersigned attorneys,

hereby respectfully moves this Court in limine for an Order allowing the

United States to introduce evidence at trial that the defendants conspired to

bring aliens to the United States and to transport aliens within the United

States between about December 9, 2021, and January 19, 2022, as res gestae

evidence of the existence of a conspiracy and the structure of the conspiracy.

In the alternative, the evidence is admissible under Fed. R. Evid. 404(b) to

show the defendants’ intent, preparation, plan, knowledge, identity, absence of

mistake, and lack of accident. Additionally, the government moves this Court

for an order allowing it to introduce evidence Defendant Patel possessed a
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As well as arranging flights and rentals, and coordinating the movement of

migrants. Each time, they also discussed the dangerous cold. On December

21, 2021, Shand told Patel, “It’s cold here 4 degrees,” “the high is 12 degrees,”

“So tonight is going to be cold.” On December 28, Shand told Patel, “It’s -9

degrees,” “Make sure everyone is worm [sic]”. Patel responded, “ya sure boss.”

A day or two before each smuggling event and a day or two after, Patel paid

Shand, who then deposited large amounts of cash into his bank account.

      The same plan and pattern used on December 11-12, 21-22, and 28-29,

2021, and January 10-11, 2022, was repeated on January 19, 2022.               The

defendants arranged for Shand to fly to Minnesota, pick up a rental van, and

drive it to the Canada/United States border. As on the past occasions, Shand’s

cellphone tracked his location as he drove north.         The defendants then

communicated by cellphone to coordinate the crossing of 11 alien migrants,

despite acknowledging the dangerously cold conditions—as they had on

previous crossings. Unfortunately, four migrants died on this crossing and two

others suffered injuries from the cold before the United State Customs and

Border Patrol arrived and arrested Shand.

      After additional investigation, law enforcement identified Defendant

Patel as the “Dirty Harry” who hired Shand and coordinated the crossings with

coconspirators in Canada. On February 21, 2024, Patel was arrested outside
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Chicago O’Hare International Airport while waiting for his Fiancée. On his

person, Patel had a Maryland driver’s license with a false date of birth and

address. A cooperating witness separately confirmed that the larger human

smuggling conspiracy of which Patel was a part had a contact inside the

Maryland Motor Vehicle Administration who provided members of the

conspiracy with Maryland driver’s licenses. There is no evidence Patel has

ever resided in Maryland.

II.     ARGUMENT

      a. Evidence of the Defendants’ Ongoing Conspiracy from December
         2021 to January 19, 2022, is Intrinsic to the Charged Conspiracy
         on January 19, 2022.

        Evidence of a person’s character is not admissible to prove they have a

criminal predisposition.    Fed. R. Evid. 404(a).    However, evidence that is

“intrinsic” to the charged acts is admissible. United States v. Grady, 88 F.4th

1246, 1258 (8th Cir. 2023), cert. denied, 144 S. Ct. 2648 (2024), and cert. denied

sub nom. Intrinsic evidence is that which “completes the story” of the charged

crime, “logically ... prove[s] any element,” or in some cases, “shows

consciousness of guilt.” Id. “In conspiracy cases, like this one, in which the

government is required to prove the existence of an agreement between the

conspirators . . . the government has considerable leeway in offering evidence

of other offenses.” See United States v. Maxwell, 643 F.3d 1096, 1100 (8th Cir.

2011) (internal citations and quotations omitted). In a conspiracy case, proving
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that the defendants intentionally reached an agreement to commit a crime is

an element of the offense, so evidence of uncharged bad acts is “proof of the

existence of the conspiracy.” Id. Evidence is also intrinsic if it shows “how the

conspiracy came about” and “how it was structured.” See United States v.

Watkins, 591 F.3d 780, 784-85 (5th Cir. 2009) (finding two previous drug runs

before the charged offense was “relevant to establish how the conspiracy was

structured and operated, and thus intrinsic”); United States v. Ceballos, 789

F.3d 607, 621 (5th Cir. 2015) (finding a “strong basis to conclude” that a

notebook ledger showing earlier dates in a smuggling conspiracy was intrinsic

because it showed how the conspiracy was structured).

      Here, the earlier smuggling dates—and the defendants’ communications

around them—are inextricably intertwined with the charged offenses, show

the existence of a conspiracy, and demonstrate how Shand and Patel

structured the conspiracy. The evidence shows the origin of their agreement

on or about December 9, 2021, and the scheme they developed to carry out the

conspiracy. It shows their planning, logistics, payments, and coordination

culminating in the January 19, 2022, crossing. Importantly, it demonstrates

their indifference to the danger the cold weather posed to the aliens they were

smuggling and transporting in the month before four migrants froze to death.

Furthermore, this evidence illustrates the roles Shand, Patel, and CC-1 played

in carrying out the conspiracy. Patel hired Shand and CC-1, coordinated with
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coconspirators in Canada, and communicated with migrants as they crossed.

Shand picked up the migrants and transported them to Chicago.                   CC-1

arranged flights, accepted payments, and, on one occasion, drove migrants to

the border. Because this evidence is directly probative of the charged crimes,

it “does not fall within the ambit of Rule 404(b).” See United States v. Aranda,

963 F.2d 211, 214 (8th Cir. 1992).

   b. Even if Pre-existing Conspiracy Evidence is not Intrinsic, it is
      Nevertheless Admissible under Federal Rule of Evidence 404(b).

   The Eighth Circuit has long held that “Rule 404(b) is a rule of inclusion,

and, as such, if evidence [is] offered for permissible purposes [it] is presumed

admissible absent a contrary determination.” United States v. Horton, 756 F.3d

569, 579 (8th Cir. 2014) (alterations in original) (quoting United States v.

Johnson, 439 F.3d 947, 952 (8th Cir. 2006)); United States v. Williams, 796

F.3d 951, 958 (8th Cir. 2015) (“Rule 404(b) is ‘one of inclusion, such that

evidence offered for permissible purposes is presumed admissible absent a

contrary determination.’”) (quoting United States v. Wilson, 619 F.3d 787, 791

(8th Cir. 2010)); United States v. Adams, 898 F.2d 1310, 1313 (8th Cir. 1989)

(noting that Rule 404(b) is “a rule of inclusion, permitting admission of such

evidence unless it tends to prove only the defendant’s criminal disposition”)

(quotation omitted).   “The ultimate question [is] whether the evidence is

admissible to prove any relevant issue other than the character of the
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defendant or his propensity toward criminal activity.”           United States v.

Thomas, 593 F.3d 752, 758 (8th Cir. 2010) (citation and quotations omitted).

In conspiracy cases, the rule is no different. See, e.g., United States v. Turner,

583 F.3d 1062, 1066 (8th Cir. 2009) (admitting prior incidents of

manufacturing methamphetamine to show the defendant had the intent to

enter into charged conspiracy to manufacture methamphetamine.)

      Here, even if evidence of four prior smuggling events by the defendants

is not intrinsic, it is nevertheless admissible for numerous non-propensity

purposes.    These close-in-time and nearly identical events show the

defendant’s intent to enter into a conspiracy to smuggle and transport unlawful

aliens for financial gain. The prior crossings show the defendants’ preparation

and plan to smuggle individuals in a remote, secretive location to transport

them to their ultimate destination in Chicago, Illinois.           It shows the

defendants’ knowledge of the unlawful status of the aliens and the danger

posed to the migrants by the extreme weather conditions. The past crossings

identify the defendants as participants by their distinctive acts in furtherance

of the smuggling and transportation.       Further, they will demonstrate the

defendants were not mistaken in transporting the individuals or accidentally

involved in the charged crimes. Any one of these non-propensity purposes is

sufficient to permit admission of the evidence. That they all apply vitiates any

danger of unfair prejudice to the defendants.
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   c. Evidence Defendant Patel Possessed a Fraudulent Maryland
      Driver’s License is Admissible Under Federal Rule of Evidence
      404(b) to Identify him as a Member of the Conspiracy.

      At trial, the government may call a cooperating witness who will testify

that the Indian smuggling conspiracy had a member who was able to procure

real but fraudulent driver’s licenses from the Maryland Motor Vehicle

Administration. The cooperating witness possessed such a license. When he

was arrested Patel did, too. Patel’s license had a false date of birth and false

address but was otherwise a real Maryland license. The fact that he possessed

a fraudulent Maryland license thus identifies Patel as a member of the human

smuggling conspiracy and is admissible under Fed. R. Evid. 404(b).

      Additionally, the license is probative of the defendant’s identity as the

“Dirty Harry” involved in this smuggling enterprise. Patel was known by many

names during the course of the conspiracy. On the Maryland driver’s license,

he used the name “Haresh Rameshlal Patel,” although his immigration

paperwork uses the name Harshkumar Patel. The T-Mobile subscriber records

for one of the key phone numbers (-0618) in this case—the number Patel was

using throughout the conspiracy while communicating with Shand—has a

subscriber with the name of “Haresh Patel.” Thus, the Maryland driver’s

license on his person in the name of “Haresh Patel” provides evidence of his

identity as the same person using the -0618 T-Mobile number during the

conspiracy.
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III.   CONCLUSION

       For the foregoing reasons, evidence the defendants brought aliens into

the United States and transported them within the United States on four prior

occasions should be admitted as res gestae of the offense, or in the alternative

for a permitted purpose under Fed. R. Evid. 404(b). Furthermore, evidence

Patel possessed a fraudulent Maryland license should be admitted under Fed.

R. Evid. 404(b).



Dated: October 28, 2024                    Respectfully Submitted,


                                           ANDREW M. LUGER
                                           United States Attorney


                                           /s/ Michael P. McBride
                                           BY: MICHAEL P. MCBRIDE
                                           Assistant U.S. Attorney
                                           MN Bar No. 0397292

                                           Ryan Lipes
                                           Trial Attorney
                                           U.S. Department of Justice
                                           NY Bar No. 5404843
